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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 ASHLEY MOORE and GREG                      §
 SAFIAN,                                    §
                                            §
                         Plaintiffs,        §
                                            §    C.A. No.: ________
         v.                                 §
                                            §    CLASS ACTION
 DOORDASH, INC.,                            §
                                            §    JURY TRIAL DEMANDED
                         Defendant.         §


                            CLASS ACTION COMPLAINT

       Plaintiffs Ashley Moore and Greg Safian (“Plaintiffs”), individually and on behalf

of all others similarly situated (the “Class,” as defined below), allege the following against

Defendant DoorDash, Inc. (“DoorDash” or the “Company”), based upon personal

knowledge with respect to themselves and on information and belief, and investigation of

counsel, as to all other matters:

                                       INTRODUCTION

       1.      Plaintiffs bring this class action against DoorDash for its unlawful practice

of collecting sales tax from customers located in States that do not permit collection of

sales tax, including Delaware, New Hampshire, and Montana (the “Tax-Free States”).

       2.      DoorDash is a nationwide on-demand food delivery company founded in

2013, which currently values itself at over $7 billion. The Company provides customers

with a web- or app-driven interface to order food delivery from local restaurants.

       3.      DoorDash accounts for nearly 30% of the U.S. on-demand food delivery

industry, which is a multi-billion dollar industry, and is second only to GrubHub.
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DoorDash has hundreds of thousands of active users across the country, and has processed

over 100 million orders between 2013 and 2018.

       4.      DoorDash charges customers the actual cost of the food items selected by

customers, plus a variety of fees and charges, including sales tax.

       5.      DoorDash generates revenue through revenue-sharing agreements with

participating restaurants as well as service fees and other charges paid by customers.

       6.      DoorDash charges and collects sales tax from customers, including those

located in Tax-Free States.

       7.      DoorDash’s practice of charging and collecting sales tax from customers

located in Tax-Free States is plainly unlawful, unfair, and deceptive.

       8.      Prior to completing an order on the DoorDash website or app, DoorDash

provides customers with an overview of their order, including the amount of sales tax to

be charged. In reality, the amount of sales tax is simply a disguised fee to DoorDash, which

DoorDash retains as revenue. Customers in Tax-Free States pay this charge under the

incorrect impression that it is a lawful, required tax charge, when it is not.

       9.      DoorDash has reaped millions of dollars in unlawful sales tax charges from

customers in Tax-Free States.

       10.     Plaintiffs, individually and on behalf of the Class, seek compensatory,

statutory, and punitive damages, injunctive relief, declaratory relief, penalties, and all other

available forms of relief to remedy DoorDash’s violations of law.

                              JURISDICTION AND VENUE

       11.     This Court has subject-matter jurisdiction pursuant to the Class Action

Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), et seq., because this is a class action in which




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the matter in controversy exceeds the sum of $5,000,000, DoorDash is a citizen of a state

different from at least one class member, and there are more than 100 class members.

        12.    This Court has personal jurisdiction over DoorDash because it is registered

to conduct business, and in fact conducts business, in the State of Delaware. DoorDash is

incorporated under the laws of the State of Delaware.

        13.    Venue properly lies in this District pursuant to 28 U.S.C. § 1391(b), since

certain causes of action arose in this District, the unlawful conduct took place, in part, in

this District, and DoorDash resides in this District.

                                         PARTIES

        14.    Plaintiff Ashley Moore is a resident and citizen of the State of Delaware.

Plaintiff Moore has used DoorDash’s services in the State of Delaware, and paid sales tax

on food delivered in the State of Delaware, due to DoorDash’s unlawful practices.

        15.    Plaintiff Greg Safian is a resident and citizen of the State of Delaware.

Plaintiff Safian has used DoorDash’s services in the State of Delaware, and paid sales tax

on food delivered in the State of Delaware, due to DoorDash’s unlawful practices.

        16.    Defendant DoorDash, Inc. is a Delaware corporation with its headquarters

in San Francisco, California. DoorDash provides food delivery services in all 50 states

through its web- or app-driven consumer interface. As of February 2019, DoorDash claims

to be valued at over $7 billion.

                              FACTUAL ALLEGATIONS

        17.    DoorDash provides on-demand food delivery services to customers in all

50 states.




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        18.     DoorDash customers use a website (doordash.com) or proprietary mobile

app to place orders for food delivery from local restaurants.

        19.     DoorDash drivers, or “Dashers,” are assigned customer orders by

DoorDash, collect the customer’s food order from the local restaurant, and deliver the food

order to the customer’s address.

        20.     DoorDash charges customers for (1) the actual cost of the food order, plus

(2) a service fee, (3) a delivery fee, (4) an optional driver tip, and (5) sales tax.

        21.     State sales tax rates vary by state. However, the States of Delaware, New

Hampshire, and Montana have sales tax rates of 0%.

        22.     The sales tax rate for meals consumed on-premises in the State of New

Hampshire is 9%. DoorDash customers—who uniformly receive delivery from DoorDash

“Dashers”—do not consume food orders on-premises.

        23.     The remaining Tax-Free States impose no sales taxes on prepared foods or

meals, regardless of whether consumption occurs on- or off-premises.

        24.     Accordingly, DoorDash is not permitted to collect sales tax amounts from

consumers in the Tax-Free States.

        25.     The States of Oregon and Alaska also have sales tax rates of 0%, and

DoorDash appears to refrain from charging sales tax to Oregon and Alaska customers.

        26.     Plaintiff Moore placed a food delivery order through DoorDash on or

around January 4, 2019, in Wilmington, Delaware, from Five Guys Restaurant, with a

delivery address located in Wilmington, Delaware.

        27.     DoorDash collected a total of $33.82 from Plaintiff Moore for this order,

including $25.95 in charges for food. The balance of the charges were for DoorDash’s




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service fee ($2.60), a driver tip ($2.00), delivery charge ($1.00 after discount), and sales

tax ($2.27).

         28.   DoorDash’s $2.27 “sales tax” charge implies an effective sales tax rate of

8.75%.

         29.   Plaintiff Moore placed a food delivery order through DoorDash on or

around January 10, 2019, in Wilmington, Delaware, from Five Guys Restaurant, with a

delivery address located in Wilmington, Delaware.

         30.   DoorDash collected a total of $14.81 from Plaintiff Moore for this order,

including $10.79 in charges for food. The balance of the charges were for DoorDash’s

service fee ($1.08), a driver tip ($1.00), delivery charge ($1.00 after discount), and sales

tax ($0.94).

         31.   DoorDash’s $0.94 “sales tax” charge implies an effective sales tax rate of

8.71%.

         32.   Plaintiff Safian placed a food delivery order through DoorDash on or around

March 26, 2019, in Smyrna, Delaware, from Golden Bowl Chinese Restaurant, with a

delivery address located in Clayton, Delaware.

         33.   DoorDash collected a total of $31.11 from Plaintiff Safian for this order,

including $20.95 in charges for food. The balance of the charges were for DoorDash’s

service fee ($3.14), a driver tip ($5.19), and sales tax ($1.83).

         34.   DoorDash’s $1.83 “sales tax” charge implies an effective sales tax rate of

8.74%.




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       35.     On information and belief, DoorDash’s practice of unlawfully collecting

sales tax charges is not limited to customers in Delaware, but also includes customers in

New Hampshire and Montana.

       36.     For example, on or around March 13, 2019, a forum user posted on

reddit.com a thread called, “WARNING: DoorDash charging sales tax in Montana,” which

reproduces a Montana-based customer’s interaction with DoorDash customer service

concerning the Company’s unlawful collection of sales tax in the State of Montana. See

www.reddit.com/r/doordash/comments/b0rdgo/warning_doordash_charging_sales_tax_in

_montana/.

       37.     According to the forum post, a DoorDash representative confirmed the

Company’s knowledge that the States of Delaware, Montana, and New Hampshire do not

allow merchants to collect sales tax charges from customers. Nevertheless, DoorDash

continues to do so.

       38.     Prior to filing this action, Plaintiffs independently confirmed that DoorDash

orders to exemplar addresses in the States of New Hampshire (N. State St., Concord, NH)

and Montana (N. Rodney St., Helena, MT), result in unlawful sales tax charges.

       39.     On information and belief, the total amount of money unlawfully obtained

by DoorDash in the form of “sales tax” charges to customers in Tax-Free States exceeds

$5,000,000.

       40.     This allegation is based on, inter alia, the facts that DoorDash charged

Plaintiffs effective sales tax rates of up to 8.75%, that DoorDash has a large nationwide

customer base of at least several hundred thousand active users and processes tens of




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millions of orders per year, and that DoorDash accounts for nearly 30% of the multi-billion

dollar U.S. on-demand food delivery industry.

       41.     DoorDash’s practice of collecting sales tax charges from customers in Tax-

Free States is unfair because it results in monetary losses to customers, who have no way

of placing their orders while avoiding such losses, and there is no corresponding benefit to

consumers from DoorDash’s practice.

       42.     DoorDash’s practice of collecting sales tax charges from customers in Tax-

Free States is deceptive because it has a tendency to deceive reasonable consumers. A

reasonable consumer in a Tax-Free State would not expect DoorDash to charge for sales

tax in a Tax-Free State.

                           DOORDASH’S TERMS OF USE

       43.     DoorDash’s terms of use (“TOU”) purport to require binding individual

(non-class) arbitration of any disputes between it and customers, as well as to waive the

right of customers to participate in class actions against DoorDash.

       44.     DoorDash customers are not required to review the TOU at any time,

including at the creation of their account or upon the placement of an order.

       45.     DoorDash customers are not required to check a box, sign, initial, or

otherwise affirmatively consent to the TOU or the arbitration and class waiver provisions

contained therein.

       46.     Instead, customers must independently navigate the website to locate the

TOU, and review the TOU to identify the arbitration and class waiver provisions.




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       47.     Prior to opening a DoorDash account, customers are given the option of

signing in with an existing Google or Facebook account, or creating a new login for

DoorDash.

       48.     Buried at the bottom of this initial screen, under DoorDash, Google, and

Facebook logos and dialog boxes for customers’ names, addresses, telephone numbers, and

email addresses, is a small typeface statement reading: “By clicking Sign up, Continue with

Facebook, or Continue with Google, you agree to our Terms and Conditions and Privacy

Statement.” Hyperlinks to the TOU and a privacy statement are embedded in this text.

The same small text, beneath the same branded graphics and dialog boxes for name,

address, email, and phone number, appears at the bottom of the “Sign Up” splash screen in

the DoorDash mobile app.

       49.     There is no separate dialog box that must be checked in order to proceed,

no requirement to open the links in order to proceed, and no other means of affirming that

customers have opened or read the TOU in order to proceed with use of the DoorDash

service. This is true of both the DoorDash web platform and the DoorDash mobile app.

       50.     Nor is there any indication on this initial screen (on either the web platform

or the app) that the TOU contains arbitration or class waiver provisions. The only webpage

indicating that the TOU contains arbitration and class waiver provisions is the TOU itself.

       51.     DoorDash permits customers to use its website and app, sign up for an

account, and place orders using the website or app without ever affirmatively indicating

acceptance of the TOU, or indeed, even reviewing the contents of the TOU.




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       52.     DoorDash does not require customers to read the TOU, or otherwise call

attention to the arbitration or class waiver provisions contained therein, prior to placing an

order for food delivery and incurring a charge.

       53.     Because the arbitration and class waiver provisions are not reasonably

available to customers, but are concealed, they are unenforceable “browsewrap” terms.

       54.     Because the TOU, and the arbitration and class waiver provisions it

contains, are not reasonably conspicuous to consumers, but are linked, in small and

inconspicuous typeface, in sections of the webpage (or app) that users are unlikely to see,

DoorDash customers, including Plaintiffs, were not on notice of the purported requirement

to arbitrate and to waive participation in class actions.

       55.     Accordingly, Plaintiffs and the other members of the Class did not assent to

the TOU or the arbitration and class waiver provisions therein.

                           CLASS ACTION ALLEGATIONS

       56.     Pursuant to Federal Rule of Civil Procedure 23(a), (b)(2), (b)(3), and (c)(4),

Plaintiffs seek certification of the following Class:

       All persons in a Tax-Free State who paid sales tax to DoorDash on a food delivery
       order.

       57.     In the alternative, Plaintiffs seek certification of the following subclasses:

       Delaware Subclass: All persons in the State of Delaware who paid sales tax to
       DoorDash on a food delivery order.

       New Hampshire Subclass: All persons in the State of New Hampshire who paid
       sales tax to DoorDash on a food delivery order.

       Montana Subclass: All persons in the State of Montana who paid sales tax to
       DoorDash on a food delivery order.

       58.     Plaintiffs reserve the right to revise the definitions of the Class and/or

Subclasses based upon information learned through discovery.


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        59.     Excluded from the Class and Subclasses are DoorDash and any entity in

 which DoorDash has a controlling interest, and its officers, directors, legal representatives,

 successors, subsidiaries, and assigns. Also excluded from the Class and Subclasses are any

 judicial officer presiding over this matter, members of their immediate family, and

 members of their judicial staff.

        60.     Numerosity. The members of the Class and Subclasses are so numerous and

 geographically dispersed that individual joinder of all members is impracticable. Plaintiffs

 are informed and believe that there are thousands of Class members. Those individuals’

 names and addresses are available from DoorDash’s records, and members of the Class

 and Subclasses may be notified of the pendency of this action by recognized, Court-

 approved notice dissemination methods, which may include U.S. Mail, electronic mail,

 internet postings, and/or published notice. On information and belief, there are at least

 thousands of members of each Subclass, making joinder of all Subclass members

 impracticable for the same reasons.

        61.     Commonality and Predominance. This action involves common questions

 of law and fact, which predominate over any questions affecting individual members of the

 Class or Subclasses, including, without limitation:

                a. Whether DoorDash collected sales tax from customers located in Tax-
                   Free States;

                b. Whether DoorDash intentionally violated the law by collecting sales tax
                   from customers located in Tax-Free States;

                c. Whether DoorDash’s description of a charge as “sales tax” to customers
                   located in Tax-Free States was unfair or deceptive;

                d. Whether, as a result of DoorDash’s conduct, Plaintiffs and other
                   members of the Class and Subclasses have been injured;




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                e. Whether, as a result of DoorDash’s conduct, Plaintiffs and other
                   members of the Class and Subclasses are entitled to damages, injunctive
                   relief, declaratory relief, or other relief, and if so, the nature of such
                   relief.

        62.     Typicality. Plaintiffs’ claims are typical of the claims of other members of

 the Class and Subclasses because, among other things, all members of the Class and

 Subclasses were comparably injured through DoorDash’s uniform collection of sales tax

 amounts as described above. The claims of Plaintiffs and other members of the Class and

 Subclasses arise out of the same nucleus of operative facts and are based on the same legal

 theories.

        63.     Adequacy of Representation. Plaintiffs are adequate class representatives

 because they will fairly and adequately protect the other members of the Class and

 Subclasses’ interests and because their interests do not conflict with the Class and

 Subclasses’ interests. Plaintiffs have retained counsel competent and experienced in

 complex commercial and class action litigation and intend to vigorously prosecute this

 action. The interests of the other members of the Class and Subclasses will be fairly and

 adequately protected by Plaintiffs and their counsel.

        64.     Declaratory and Injunctive Relief. The prosecution of separate actions by

 individual members of the Class and Subclasses would create a risk of inconsistent or

 varying adjudications with respect to individual members of the Class and Subclasses that

 would establish incompatible standards of conduct for DoorDash. Such individual actions

 would create a risk of adjudications that would be dispositive of the interests of other

 members of the Class and Subclasses and impair their interests. DoorDash has acted and/or

 refused to act on grounds generally applicable to the members of the Class and Subclasses,

 making final injunctive relief or corresponding declaratory relief appropriate.



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         65.     Superiority. Plaintiffs and the other members of the Class and Subclasses

 have all suffered and will continue to suffer harm and damages as a result of DoorDash’s

 unlawful and wrongful conduct. A class action is superior to other available means for the

 fair and efficient adjudication of Plaintiffs’ and other members of the Class and Subclasses’

 claims. While substantial, the damages suffered by each individual Class and Subclass

 member do not justify the burden and expense of individual prosecution of the complex

 and extensive litigation required by DoorDash’s conduct. Even if members of the Class

 and Subclasses themselves could afford individual litigation, the court system could not.

 Individualized litigation presents a potential for inconsistent or contradictory judgments.

 Individualized litigation would increase the delay and expense to all parties and the court

 system given the complex legal and factual issues of this case. By contrast, the class action

 device presents far fewer management difficulties and provides the benefits of single

 adjudication, economy of scale, and comprehensive supervision by a single court.

                                   CAUSES OF ACTION

                                        COUNT ONE

          VIOLATION OF DELAWARE CONSUMER PROTECTION ACT

                                   6 Del C. §§ 2511, et seq.

         66.     Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-65

 as if fully set forth herein.

         67.     Plaintiffs bring this claim on behalf of the Class or, in the alternative, on

 behalf of the Delaware Subclass.

         68.     The Delaware Consumer Protection Act, 6 Del C. §§ 2511, et seq. (the

 “DCPA”), “protect[s] consumers … from unfair or deceptive merchandising practices in

 the conduct of any trade or commerce in part or wholly within [Delaware].”


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        69.        The DCPA specifically prohibits “[t]he act, use or employment by any

 person of any deception [or] false pretense … in connection with the sale … of any

 merchandise, whether or not any person has in fact been misled, deceived or damaged

 thereby[.]”

        70.        DoorDash is a “person” as defined by the DCPA. 6 Del. C. § 2511(7).

        71.        DoorDash sells “merchandise” to customers as defined by the DCPA,

 namely, foods ordered through its web- or app-driven consumer interface. 6 Del. C. §

 2511(6).

        72.        Alternatively, DoorDash’s food-ordering and delivery services are

 “merchandise” as defined by the DCPA. Id.

        73.        DoorDash’s sales of merchandise (whether foods or food-ordering and

 delivery services) are “sales” as defined by the DCPA. 6 Del. C. § 2511(8).

        74.        DoorDash violated the DCPA by charging consumers and collecting sales

 tax on orders in the State of Delaware, which has no sales tax.

        75.        Alternatively, or in addition, DoorDash violated the DCPA by deceiving

 consumers, or selling merchandise on the basis of a false pretense, in that it collected a fee

 for itself under the guise of a “sales tax” charged to consumers in the State of Delaware.

        76.        Plaintiffs and the other members of the Class and/or Delaware Subclass

 have been damaged in amounts to be proven at trial.

        77.        Plaintiffs and the other members of the Class and/or Delaware Subclass seek

 compensatory damages, restitution, injunctive relief, civil penalties, statutory penalties,

 and declaratory relief to remedy DoorDash’s violations of the DCPA, as well as attorneys’

 fees and costs.




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         78.     Plaintiffs and the other members of the Class and/or Delaware Subclass

 further seek an award of punitive damages because, as alleged above, DoorDash’s practice

 of collecting sales tax in Tax-Free States was carried out knowingly and willfully, or with

 reckless indifference to its customers’ rights, as evidenced by the fact that other DoorDash

 customers have notified DoorDash of the wrongful and injurious nature of the practice and

 DoorDash nevertheless continued to carry out the practice.

                                       COUNT TWO

      VIOLATION OF DELAWARE DECEPTIVE TRADE PRACTICES ACT

                                   6 Del C. §§ 2531, et seq.

         79.     Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-65

 as if fully set forth herein.

         80.     Plaintiffs bring this claim on behalf of the Class or, in the alternative, on

 behalf of the Delaware Subclass.

         81.     The Delaware Deceptive Trade Practices Act, 6 Del C. §§ 2531, et seq. (the

 “DDTPA”), broadly prohibits “deceptive trade practice[s],” including any conduct that

 causes likelihood of confusion or of misunderstanding as to the source, sponsorship,

 approval, certification, affiliation, connection, or association of goods or services, and any

 other conduct that creates a likelihood of confusion or misunderstanding.

         82.     DoorDash violated the DDTPA by charging consumers and collecting sales

 tax on orders in the State of Delaware, which has no sales tax.

         83.     Alternatively, or in addition, DoorDash violated the DDTPA by deceiving

 consumers, or selling merchandise on the basis of a false pretense, in that it collected a fee

 for itself under the guise of a “sales tax” charged to consumers in the State of Delaware,




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 which has a tendency to cause confusion or misunderstanding as to the nature, origin, and

 legitimacy of the sales tax charge.

         84.     Plaintiffs and the other members of the Class and/or Delaware Subclass

 have been damaged in amounts to be proven at trial.

         85.     Plaintiffs and the other members of the Class and/or Delaware Subclass seek

 injunctive relief to remedy DoorDash’s violations of the DDTPA, as well as an order

 trebling any and all damages awarded under the DCPA, the common law, or other claims,

 and attorneys’ fees and costs.

                                       COUNT THREE

      VIOLATION OF NEW HAMPSHIRE CONSUMER PROTECTION ACT

                           31 N.H. Rev. Stat. Ann. §§ 358-A, et seq.

         86.     Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-65

 as if fully set forth herein.

         87.     Plaintiffs bring this claim on behalf of the Class or, in the alternative, on

 behalf of the New Hampshire Subclass.

         88.     The New Hampshire Consumer Protection Act, 31 N.H. Rev. Stat. Ann. §§

 358-A, et seq. (the “NHCPA”), prohibits “use [of] any unfair method of competition or any

 unfair or deceptive act or practice in the conduct of any trade or commerce within [New

 Hampshire].”

         89.     DoorDash is a “person” as defined by the NHCPA. 31 N.H. Rev. Stat. Ann.

 § 358-A:1(I).

         90.     DoorDash is engaged in “trade” and “commerce” as defined by NHCPA.

 31 N.H. Rev. Stat. Ann. § 358-A:1(II).




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        91.     DoorDash violated the NHCPA by charging consumers and collecting sales

 tax on orders in the State of New Hampshire, which has no sales tax on foods or meals

 consumed anywhere other than the premises of the restaurant that sold the food or meal.

        92.     Alternatively, or in addition, DoorDash violated the NHCPA by deceiving

 consumers, in that it collected a fee for itself under the guise of a “sales tax” charged to

 consumers in the State of New Hampshire.

        93.     Plaintiffs and the other members of the Class and/or New Hampshire

 Subclass have been damaged in amounts to be proven at trial.

        94.     Plaintiffs and the other members of the Class and/or New Hampshire

 Subclass seek compensatory damages or, if compensatory damages amount to less than

 $1,000 per class member, statutory damages in the amount of $1,000 per class member

 pursuant to N.H. Rev. Stat. § 358-A:10(I), as well as restitution, injunctive relief, civil

 penalties, and declaratory relief to remedy DoorDash’s violations of the NHCPA, as well

 as attorneys’ fees and costs.

        95.     DoorDash’s use of unfair methods of competition and deceptive trade

 practices, as alleged herein, constitute willful and knowing violations of the NHCPA.

 Accordingly, Plaintiffs and the other members of the Class and/or New Hampshire

 Subclass seek an award of three times the amount of compensatory or statutory damages

 awarded pursuant to N.H. Rev. Stat. § 358-A:10(I).

        96.     Plaintiffs and the other members of the Class and/or New Hampshire

 Subclass further seek an award of punitive damages because, as alleged above, DoorDash’s

 practice of collecting sales tax in Tax-Free States was carried out knowingly and willfully,

 or with reckless indifference to its customers’ rights, as evidenced by the fact that other




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 DoorDash customers have notified DoorDash of the wrongful and injurious nature of the

 practice and DoorDash nevertheless continued to carry out the practice.

                                          COUNT FOUR

  VIOLATION OF MONTANA UNFAIR TRADE PRACTICES AND CONSUMER
                       PROTECTION ACT

                                 Mont. C. Ann. §§ 30-14-101, et seq.

         97.     Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-65

 as if fully set forth herein.

         98.     Plaintiffs bring this claim on behalf of the Class or, in the alternative, on

 behalf of the Montana Subclass.

         99.     The Montana Unfair Trade Practices and Consumer Protection Act, Mont.

 C. Ann. §§ 30-14-101, et seq. (the “MUTPCPA”), prohibits “[u]nfair methods of

 competition and unfair or deceptive acts or practices in the conduct of any trade or

 commerce[.]”

         100.    DoorDash is a “person” as defined by the MUTPCPA. Mont. C. Ann. § 30-

 14-102(6).

         101.    DoorDash is engaged in “trade” and “commerce” as defined by MUTPCPA.

 Mont. C. Ann. § 30-14-102(8).

         102.    Plaintiffs are “consumers” as defined by MUTPCPA. Mont. C. Ann. § 30-

 14-102(1).

         103.    DoorDash violated the MUTPCPA by charging consumers and collecting

 sales tax on orders in the State of Montana, which has no sales tax.




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          104.   Alternatively, or in addition, DoorDash violated the MUTPCPA by

 deceiving consumers, in that it collected a fee for itself under the guise of a “sales tax”

 charged to consumers in the State of Montana.

          105.   Plaintiffs and the other members of the Class and/or Montana Subclass have

 been damaged in amounts to be proven at trial.

          106.   Plaintiffs and the other members of the Class and/or Montana Subclass seek

 compensatory damages or, if compensatory damages amount to less than $500 per class

 member, statutory damages in the amount of $500 per class member pursuant to Mont. C.

 Ann. § 30-14-133(1), as well as restitution, injunctive relief, civil penalties, and declaratory

 relief to remedy DoorDash’s violations of the MUTPCPA, as well as attorneys’ fees and

 costs.

          107.   Plaintiffs and the other members of the Class and/or Montana Subclass

 further seek statutory damages of $1,000 to remedy DoorDash’s violations of the

 MUTPCPA, pursuant to Mont. C. Ann. § 30-14-222(2)(a).

          108.   Plaintiffs and the other members of the Class and/or Montana Subclass

 further seek an award of punitive damages because, as alleged above, DoorDash’s practice

 of collecting sales tax in Tax-Free States was carried out knowingly and willfully, or with

 reckless indifference to its customers’ rights, as evidenced by the fact that other DoorDash

 customers have notified DoorDash of the wrongful and injurious nature of the practice and

 DoorDash nevertheless continued to carry out the practice.




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                                        COUNT FIVE

   BREACH OF CONTRACT AND OF IMPLIED COVENANT OF GOOD FAITH
                       AND FAIR DEALING

          109.   Plaintiffs repeat and re-allege the allegations contained in paragraphs 1-65

 as if fully set forth herein.

          110.   Plaintiffs bring this claim on behalf of the Class.

          111.   Plaintiffs and the other members of the Class purchased food and food

 delivery services from DoorDash via its website and/or mobile app.

          112.   These transactions constituted contracts for the purchase of such food and

 food delivery services.

          113.   Implied in each contract was an understanding that DoorDash would abide

 by the governing law in the Tax-Free States and not collect sales tax on the purchase of

 such food and food delivery services in these States.

          114.   DoorDash breached its contracts with Plaintiffs and the other members of

 the Class, and the covenant of good faith and fair dealing implied into all of these contracts,

 by charging and collecting sales tax on orders in the Tax-Free States, contrary to governing

 law in those States.

          115.   As a result, DoorDash overcharged Plaintiffs and each member of the Class

 in the amounts of sales tax DoorDash collected from Plaintiffs and each member of the

 Class.

          116.   Plaintiffs and the other members of the Class have been damaged in

 amounts to be proven at trial.




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         117.    Plaintiffs and the other members of the Class seek compensatory damages

 to remedy DoorDash’s breach of contract and of the implied covenant of good faith and

 fair dealing.

                                  PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, individually and on behalf of the Class and Subclasses,

 respectfully request the following relief:

         a.      That this Court certify this action as a class action pursuant to Federal Rule

 of Civil Procedure 23(a), (b)(2), (b)(3), and/or (c)(4), and appoint Plaintiffs as Class

 Representatives and Plaintiffs’ counsel as Class Counsel;

         b.      That this Court enter judgment in favor of Plaintiffs and the other members

 of the Class and Subclasses, and against DoorDash under the legal theories alleged herein;

         c.      That DoorDash’s wrongful conduct alleged herein be adjudged and

 declared to violate law as asserted herein, and that the Court issue an order enjoining the

 acts and practices adjudged and declared unlawful;

         d.      That Plaintiffs and each of the other members of the Class and Subclasses

 be awarded their actual damages or, in the alternative where permitted by law, statutory

 damages where such damages exceed actual damages, with all damages (whether actual

 damages or statutory damages) trebled where available by law;

         e.      That Plaintiffs and each of the other members of the Class and Subclasses

 be awarded punitive damages sufficient to deter DoorDash and other companies from

 engaging in similar misconduct in the future, and to punish DoorDash for its knowing,

 willful, and/or recklessly indifferent violations of law;




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        f.      That Plaintiffs and each of the other members of the Class and Subclasses

 be awarded such additional or other statutory damages or penalties, civil penalties, or other

 monetary relief permitted by law;

        g.      That Plaintiffs and each of the other members of the Class and Subclasses

 be awarded pre- and post-judgment interest, as permitted by law;

        h.      That Plaintiffs and each of the other members of the Class and Subclasses

 recover their costs of suit and attorneys’ fees and expenses as permitted by law;

        i.      That Plaintiffs and each of the other members of the Class and Subclasses

 be awarded such other and further relief as the nature of the case may require or as this

 Court deems just and proper.

                                 JURY TRIAL DEMAND

        Plaintiffs respectfully request a trial by jury on all claims so triable.

 Dated: April 5, 2019                          Respectfully submitted,

                                                By:/s/ Kyle J. McGee
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